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                             UNITED STATES DISTRICT COURT
                             SO UTH ERN DISTRICT OF FLORIDA

                        CASE NO.16-20189-CR-GAYLES/O TAZO-M YES


   UNITED STATES OF AM ERICA,

   V.

   M ARLON FRANCESCO M ONROY M EONO

          D efendant.
                                                       /

                REPORT AND RECO M M ENDATION ON CHANG E OF PLEA

          THIS CAUSE cam e before the undersigned by Order ofReference from United States

   DistrictJudge Darrin P.Gayles and the consent ofthe parties forthe acceptance by a United

   States M agistrate Judge of a guilty plea by Defendant M arlon Francesco M onroy M eono

   (ç$M eono''). Pursuantto such referencetheundersigned conducted achangeofpleahearing on
   July 24,2017 which wasattended by M eono,hisattom ey,DermisUrbano,and Joseph Schuster,

   AssistantUnited StatesAttorney. Theundersigned hereby advisesasfollows:

          1. At the com mencement ofthe change of plea proceedings,the undersigned advised

   M eono thathe had a rightto have these proceedings conducted by the United States District

   Judge assigned to thiscase. M eono was advised thata M agistrate Judge wasconducting these

   proceedings by Order of Reference from the DistrictJudge. The undersigned confirmed that

   M eono,his attorney,and the AssistantUnited States Attorney to whom this cause is assigned,

   consented to the undersigned conducting these proceedings. The undersigned advised M eono

   thatthe sentence willbe imposed by the DistrictJudge,who willm ake a11findings and rulings

   regarding such sentence and w illconduct a sentencing hearing at a tim e to be scheduled by the

   DistrictJudge.
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         2. The undersigned then conducted a plea colloquy with M eono consistent with the

  outline setforth in the Bench Book forU.S.DistrictCourtJudgesand in conform ity with the

  requirem entsofRule 11ofthe FederalRulesofCriminalProcedure.

         3. The undersigned advised M eono ofthesentence possibilitiesasto the charge setforth

  in the lndictm entto which hewastendering a guilty plea,aswellasthe possible tine and term of

  supervised release. M tono wasadvised thatthe chargeto which hew aspleading guilty carriesa

  minim um term ofimprisonm entoften yearsup to life,followed by aterm ofsupervised release

  offiveyearsup to life. Additionally,the DistrictJudgem ay im posea fineofup to $10,000,000,

  and there isam andatory specialassessmentof$100.00.M eono wasalso advised thathe may be

  subjectto deportation.
        4. M eono acknowledged thathewasfully satisfied with the servicesofhisattorney and

  that he had a full opportunity to discuss a11 facets of his case with his attorney,which he

  acknowledged thatheunderstood.

        5. M eono pled guilty to the single Count in the Indictm ent,nam ely,conspiracy to

  distributem ore than fivekilogramsofcocaineknowingthatitwould beunlawfully im ported into

  theUnitedStates,inviolationofTitle21,UnitedStatesCode,Sections959(a)(2)and963.
        6.Thegovernm entsubm itted a factualprofferforthe guilty plea which consisted ofa11of

  theessentialelem entsoftheoffenseto which M eono pledguilty.

        7.M eono was inform ed thata Pre-sentence lnvestigation Reportwillbe ordered by the

  DistrictJudge. M eono willrem ain in custody pending im position of sentence.The sentencing

  hearing willbeconducted bytheDistrictJudge atatim eto be scheduled by the DistrictJudge.

        Accordingly, and based upon the foregoing and the plea colloquy conducted in this

  Cause,theundersigned hereby
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         RECOM M ENDS thatM eono be found to have freely and voluntarily entered his guilty

 plea to the offense charged in thesingleCountin theIndictm ent,thathisguilty pleabe accepted,

 thathebe adjudicated guilty ofsuch offtnse,and thatastntencinghearing asscheduled bythe
 DistrictJudgebeconducted fora fnaldisposition ofthisCause.

         Pursuantto LocalM agistrateJudge Rule4(b),thepartieshave fourteen davsfrom the
 date ofthisReportand Recommendation to file written objections,ifany,with the Honorable
 Darrin P.Gayles,United StatesDistrictJudge. Failure to file timely objectionsmay barthe
 partiesfrom attacking the factualfindingscontained herein on appeal. See Resolution Tr.Cop .

 v.Hallmark Builders.Inc.,996 F.2d 1144,1149 (11th Cir.1993). Further,Ssfailureto objectin
 accordance with the provisions of (28 U.S.C.) j 636(b)(1)waives the rightto challenge on
 appealthedistrictcourt'sorderbased onunobjected-tofactualand legalconclusions.''See 11th
 Cir.R.3-1(l.O.P.-3).
                                                                             2 M+
         RESPECTFULLY SUBM ITTED in Chambers at M iam i,Florida,this         -   day of July,

 2017.
                                            .   V #e.J= .à         C
                                           ALICIA M .OTAZO- YES
                                           UNITED STATES M AGISTRATE JUDGE

 cc:     United StatesDistrictJudge Darrin P.Gayles
         CounselofRecord
